        Case 3:22-cr-01152-BAS Document 8 Filed 05/27/22 PageID.57 Page 1 of 2




  1      RANDY S. GROSSMAN
                                                                           FILED
         United States Attorne_y
  2      MEGHAN E. HEESCH (MN Bar No. 0395912)                              MAY 2 7 2022
         NICHOLAS W. PILCHAK (CA Bar No. 331711)
                                                                       CLERK, U.S. DISTRJCl COURT
  3      ERIC R. OLAH (CA Bar No. 295513)                           SOUTHERN DISTRICT OF CALIFORNIA
         Assistant United States Attorneys                         BY     Ii t,,1/           DEPUTY
 4       Office of the U.S. Attorney
         880 Front Street Room 6293
  5      San Diego, California 92101-8893
         Tele2hone: (619) 546-9442
  6      Email: meghan.heesch@usdoj.gov
                                                  SEALED
  7      Attorneys for United States of America
 8                               UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
10
          UNITED STATES OF AMERICA
11
                             Plaintiff,              Case No. 22-CR-1152-W
12
                v.                                   APPLICATION TO PARTIALLY
13                                                   UNSEAL SUPERSEDING
          SHEIDA ALAN (2),                           INDICTMENT AND ARREST
14          aka Sheida Arabi,                        WARRANT AND ORDER THEREON
15                           Defendant.              [UNDER SEAL]
16
17
               The United States of America, by and through its counsel, applies for an Order
18
         from the Court to partially unseal the Indictment in this case in order to allow for
19
         disclosure to and by United States Department of State and law enforcement personnel,
20
         including foreign authorities, in connection with the performance of their duties and for
21
        the purpose of locating, arresting, and extraditing Sheida Alan, aka Sheida Arabi ("the
22 II
        Defendant"). On May 24, 2022, a Grand Jury returned a sealed Indictment charging the
23
        Defendant with Wire Fraud Conspiracy, in violation of Title 18, United States Code,
24
        Section 1349; Wire Fraud, in violation of Title 18, United States Code, Section 1343,
25
        and Conspiracy to Launder Monetary Instruments, in violation of Title 18, United States
26
        Code, Section 1956(h). That same day, the Clerk of the Court issued a sealed arrest
27
        warrant for the Defendant.
28
           Case 3:22-cr-01152-BAS Document 8 Filed 05/27/22 PageID.58 Page 2 of 2




  111              The United States anticipates working with the United States Department of State
  2 11 and foreign law enforcement authorities in order to locate, arrest, and extradite Sheida
  3   11    Alan, aka Sheida Arabi. In that effort, the United States is required to provide a copy of
  4 11      the Indictment and arrest warrant to the Department of State and to foreign authorities.
  5   II           Accordingly, the United States requests an Order partially unsealing the
  6   II Indictment and arrest warrant only for the purpose of allowing for disclosure to and by
  7 11      law enforcement personnel, including foreign authorities, and the Department of State
  8 11      in connection with the performance of their duties and for the purpose of locating,
  9   11    arresting, and extraditing the Defendant.
1 o 11             Because the Defendant or her co-defendants may flee from their current locations
11 II if this application was publicly made, the United States is requesting this application and
12    11    order be made under seal.
13
14         DATED: May 25, 2022.                    Respectfully Submitted,
15
                                                   RANDY S. GROSSMAN
16                                                 United States Attorney
17
18
19
                                                  ~'1£H
                                                   Assistant United States Attorney

20         SO ORDERED.
21         Application and Order are Hereby Ordered Sealed

22
23         Date:       d-/4-J-, 2022
                                                             ~
                                                             THOMASJ.
24                                                UNITED STATES DISTRICT JUDGE
25
26
27
28
